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                              EXHIBIT A


                                        Please Note:
                   The Documents Appended Hereto Have Been Redacted
           To Prevent Any Possible Disclosure of Personal And Private Information

                    Any Documents Marked As A True And Correct Copy
                        Have Also Been Redacted For This Purpose
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